Case 2:20-cv-13134-LVP-RSW ECF No. 93-4, PageID.4102 Filed 01/19/21 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


 IN RE: ANDREW A. PATERSON, JR.
                                                                       Administrative Order
                                                      /                No. 20-AD-053


         The Magistrate Judge has referred Attorney Andrew A. Paterson, Jr. to the undersigned

 under L.Gen.R. 2.3(d) for consideration of possible discipline or disciplinary proceedings. The

 referral comes in a Report and Recommendation on a series of discovery and sanctions motions in

 Blackwell v. Simon, Case No. 1:18-cv-1261, ECF No. 234, at PageID.3027 (March 20, 2020). The

 District Judge assigned to the case rejected objections to the Report and Recommendation, and

 adopted it as her own. ECF No. 314 (May 20, 2020). Attorney Paterson is no longer counsel of

 record on the case, or on any other matter in this District.

         The referral in the Report and Recommendation includes a detailed and carefully

 documented history of litigation conduct warranting sanctions in the Blackwell case itself. It also

 provides citation to and analysis of several other state and federal cases in which Attorney Paterson

 has incurred some form of sanction for, or other negative judicial commentary on, his performance

 as an attorney in the case. ECF No. 234, at PageID.3026-3029. 1 The common theme of all the

 referenced cases, including this one, is a pattern of activity involving vexatious and frivolous

 filings, outright misrepresentations of fact and other conduct far outside the normal bounds of

 zealous advocacy.

         No Court or litigant is obligated to tolerate the kind of inappropriate litigation conduct

 detailed in these cases. But the Court is satisfied on the present record that the sanctions imposed




 1 A number of the other cases all appear to arise out of a contentious and long running dispute involving
 redevelopment of Centre Park Beer in Detroit. See, e.g., Lotus Indus. v. City of Detroit, No. 17-13482, 2018 WL
 4005608 , at *1 (E.D. Mich. Aug. 22, 2018).
Case 2:20-cv-13134-LVP-RSW ECF No. 93-4, PageID.4103 Filed 01/19/21 Page 2 of 3




 by each respective Court, including this one, in the cited cases fully vindicates the disciplinary

 interests at stake. In this case, for example, Attorney Paterson was removed as counsel in the case.

 He incurred monetary penalties. And at least some of the claims he asserted were dismissed as

 part of the overall sanction imposed. The other reported cases included similar targeted, but

 significant, sanctions tied to particular litigation conduct in the particular case at issue.

         The case specific sanctions are, in the view of the undersigned, the best way of vindicating

 the disciplinary interests involved when the wrongful conduct involves the particulars of the

 individual case. The record of the case in this Court fully supports the sanctions recommended

 and imposed by the assigned Judicial Officers in the case. They vindicate the Court’s interest in

 enforcing the rules and orders of the Court, and the standards of ethical conduct for an advocate.

 They also provide appropriate and balanced redress for the most directly affected litigants. True,

 they do not prevent Attorney Paterson from engaging in another unwarranted course of

 inappropriate behavior in some other case. However, there is nothing of record that suggests he

 misbehaves in every case, or even in most of his cases. And in the cases where he does, each

 tribunal has demonstrated its ability to respond with appropriate sanctions. Moreover, Attorney

 Paterson practices in an area fraught with potential for political conflict. See, e.g., Carmack v. City

 of Detroit, No. 18-cv-11018, 2019 WL 4670363, at *9 (E.D. Mich. Sept. 25, 2019). This is no

 excuse for violating the rules that put the limits on the bounds of zealous advocacy. Id. But it does

 reinforce the undersigned’s preference to address sanctions, when needed, in a case specific

 context rather than an ancillary administrative proceeding addressing possible suspension,

 disbarment, or other more generalized discipline.

         The undersigned does not believe consideration of possible additional sanctions, such as

 suspension or disbarment from the bar of this Court, is warranted at this time. Attorney Paterson

 is not currently counsel of record on any matter in this District. If and when he appears on another

 matter, if he repeats his misbehavior, appropriate sanctions will no doubt be imposed within the
Case 2:20-cv-13134-LVP-RSW ECF No. 93-4, PageID.4104 Filed 01/19/21 Page 3 of 3




 case. Another referral for more general discipline, including suspension or disbarment, may then

 be warranted. See, e.g., In re Moncier, 550 F. Supp. 2d 768 (E.D. Tenn. 2008). But for now, the

 undersigned is satisfied that no additional discipline or disciplinary proceedings are necessary.




 Dated: July 30, 2020
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
